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                                       Tuesday, 24 November, 2015 01:10:34 PM
                                                   Clerk, U.S. District Court, ILCD
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                                  /s/ Robert Castellanos
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

ROBERTO CASTELLANOS, #K-81133,       )
                                     )
          Plaintiff,                 )
                                     )
     vs.                             )     No. 12-1452-SLD
                                     )
RANDY PFISTER, JAMES BLACKARD,       )
GLENDAL FRENCH, SUSAN PRENTICE,      )
DONALD BOITNOTT, TERRANCE DURBIN, )
DAVID HALL, and PAUL GRIFFITH,       )
                                     )
          Defendants.                )
                        CERTIFICATE OF SERVICE

       I hereby certify that on November 24, 2015, I electronically filed the foregoing Joint

Stipulation to Dismiss with Prejudice, with the Clerk of Court using the CM/ECF system which

will send notification of such filing to the following:

                                                None

and I hereby certify that on November 24, 2015, I mailed by United States Postal Service, the

document to the following non-registered participant:

               Roberto Castellanos
               920 N. Washington Ave.
               Batavia, IL 60510.

                                                          Respectfully Submitted,

                                                           /s/ Melissa A. Jennings
                                                          Melissa A. Jennings, #6300629
                                                          Assistant Attorney General
                                                          500 South Second Street
                                                          Springfield, Illinois 62706
                                                          (217) 782-5819 Phone
                                                          (217) 524-5091 Fax
                                                          E-Mail: mjennings@atg.state.il.us


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